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                                      IN THE UNITED STATES DISTRICT COURr----::-::~~~-----
                                      FOR THE NORTHERN DISTRICT OF TEXA     U.S. DISTRICT COURT
                                                                                          NORTHERN DISTIUCT OF TEXAS
                                                   DALLAS DIVISION                                  FILED
UNITED STATES OF AMERICA                                   §
                                                           §                                      ~~t-J   I 6 2014
V.                                                         §    CASE NO.: 3:14-C     00189-L

DANIEL DARCY (2)
                                                           ~                             c;:RK,.....__U-.S-.D-IS-~--C-'0

                                                                                                      Deputy
                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

        DANIEL DARCY, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) One of the Indictment
After cautioning and examining DANIEL DARCY under oath concerning each of the subjects mentioned in Rule 11, I
determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that DANIEL DARCY be adjudged guilty of 21 U.S.C. § 846, Conspiracy to Distribute
Marijuana and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

            ~           The defendant is currently in custody and should be ordered to remain in custody.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        0       The Government does not oppose release.
        0       The defendant has been compliant with the current conditions of release.
        0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional ci umsta es are clearly shown
        under§ 3145(c) why the defendant should not be detai         and (2) the Court finds by ear and convincing
        evidence that the defendant is not likely to e          a er to any othe per         the co   unity if released.

Date:   16th day of September, 2014




Failure to file written objections to this Report and Recommenda 'on ithin fourteen (14) days from the da of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).
